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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
FCA US, LLC                           §
                                      §
      Defendant.                      §
_____________________________________ §

                           PLAINTIFF’S RULE 7.1 STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for DISPLAY TECHNOLOGIES, LLC, a private non-governmental property, certifies

that there are no corporate parents, affiliates and/or subsidiaries owning more than ten percent

(10%) of Plaintiff.

Dated: February 23, 2020                     Respectfully submitted,
                                             /s/ Jimmy Chong
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